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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION

VISTA ACQUISITIONS, LLC,               :
                                       :
       Plaintiff,                      :
                                       :
v.                                     :      CIVIL ACTION FILE NO.
                                       :      _____________________
WEST SHORE WALDEN LLC;                 :
WEST SHORE, LLC; John Doe 1;           :      COMPLAINT AND
John Doe 2; and John Doe 3,            :      JURY DEMAND
                                       :
       Defendants.                     :

                                  COMPLAINT

       Plaintiff VISTA ACQUISITIONS, LLC (“Vista”) hereby files their

Complaint against Defendants West Shore Walden, LLC (“West Shore Walden”);

West Shore, LLC (“West Shore”); and John Does 1 – 3 for tortious interference,

fraud, and RICO/business conspiracy. Vista also seeks punitive damages and

attorneys’ fees. In support of its claim, Vista alleges, on information and belief, as

follows:

                           NATURE OF THE ACTION

       Vista is under contract to purchase property located at 1000 Chatham Center

Drive, Savannah, Ga, PIC 20739-01013 (the “Subject Property”). In anticipation of

purchasing and obtaining the Subject Property, Vista petitioned the City of Savannah

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to change the zoning restrictions of its property from B-C (Community Business) to

RMF-2-25 (Residential Multi-Family, 25 Units per Acre). West Shore Walden owns

property located at 100 Walden Lane, Savannah, GA, PIN 20739-01009, which is

located directly across from Vista’s property. West Shore Walden’s property is an

apartment complex.

       As part of a goal to increase its supply of higher density housing, the City of

Savannah voted to approve Vista’s rezoning petition on November 9, 2021. The

rezoning permitted Vista to develop a residential apartment complex—across the

street from West Shore Walden’s apartments. Before the City of Savannah approved

Vista’s rezoning petition at the final rezoning hearing, Vista was in communication

with West Shore Walden on multiple occasions to review any issues that West Shore

Walden may have felt were apparent and necessary for Vista and the City of

Savannah to consider.

       On the last possible day (December 9, 2021), West Shore Walden filed a

slapdash Petition for Writ of Certiorari containing bogus allegations that the City of

Savannah had inadequate information to approve Vista’s rezoning request. Vista

opposed West Shore Walden’s claims and sought to dismiss the Petition for Writ of

Certiorari on multiple grounds. The Superior Court of Chatham County scheduled a



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hearing on Vista’s motions to dismiss, but West Shore Walden dismissed its case

without prejudice on the eve of the hearing, foreclosing a hearing.

       Vista now seeks damages for these tortious actions along with Defendants’

larger, national agenda of economic sabotage.

                                    THE PARTIES

                                          1.

       Plaintiff VISTA ACQUISITIONS, LLC (“Vista”) is a limited liability

corporation organized and existing under the laws of the State of Georgia with its

principal office address at 2964 Peachtree Road, Suite 585, Atlanta, GA, 30305,

USA. Vista can be served at its registered agent, Douglas Krevolin, who is located

at 1201 West Peachtree Street, Suite 3250, Atlanta, GA, 30309, USA.

                                          2.

       West Shore Walden, LLC (“West Shore Walden”) is a foreign limited liability

company organized and existing under the laws of the State of Delaware with its

principal office address at One International Place, Suite 3900, Boston, MA, 02110.

West Shore Walden can be served at its registered agent, Cogency Global Inc., which

is located at 900 Old Roswell Lakes Parkway, Suite 310, Roswell, GA, 30076. West

Shore Walden, at all times material hereto, transacted substantial and continuous

business in the State of Georgia.
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                                            3.

       West Shore, LLC (“West Shore”) is a limited liability company organized and

existing under the laws of the State of Delaware with its principal office address at

One International Place, Suite 3900, Boston, MA, 02110. West Shore can be served

at its registered agent, Cogency Global Inc., which is located at 45 School Street,

Suite 202, Boston MA, 02108.

                                            4.

       John Does 1-3 are currently unknown individuals or entities who, upon

information and belief, were involved in West Shore Walden’s scheme to discourage

residential real estate competition in the City of Savannah.


                                            5.

       At all times alleged herein, the above-named Defendants include any and all

parent companies, subsidiaries, affiliates, divisions, franchises, partners, joint

venturers, and organizational units of any kind, their predecessors, successors, and

assigns and their officers, directors, employees, agents, representatives, and any and

all other persons acting on their behalf.




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                                             6.

       At all times herein mentioned, each of the above-mentioned Defendants were

the agents, servants, partners, predecessors in interest, and joint venturers of each

other, and were at all times operating and acting with the purpose and scope of

said agency, service, employment, partnership, joint enterprise, and/or joint venture.


                                 JURISDICTION

                                          7.


       This Court has subject matter jurisdiction pursuant to 18 U.S.C. § 1964 and

28 U.S.C. § 1331, as the claims asserted herein arise, inter alia, under and pursuant

to 18 U.S.C. 1961, et seq; and 28 U.S.C. § 1367, which provides jurisdiction for

Plaintiff’s supplemental state law claims.

                                          8.

       This action also contains counts originating in the common law of the State

of Georgia concerning tortious interference and fraud.




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                                            9.

       Personal jurisdiction comports with due process under the United States

Constitution, the long-arm statute of Georgia, O.C.G.A. § 9-10-91, and the

provisions of 18 U.S.C. § 1965(b) and (d).

                                         10.
       Without limiting the generality of the foregoing, each Defendant (directly or

through agents who were at the time acting with actual and/or apparent authority and

within the scope of such authority) has:

            (a)      transacted business in Georgia;

            (b)     availed themselves intentionally of the benefits of doing business
            in Georgia;

            (c)      caused tortious damage by act or omission in Georgia;

            (d)       caused tortious damage in Georgia by acts or omissions
            committed outside such jurisdiction while (i) regularly doing business or
            soliciting business in such jurisdiction, and/or (ii) engaging in other
            persistent courses of conduct within such jurisdiction, and/or (iii) deriving
            substantial revenue from goods used or consumed or services rendered in
            such jurisdiction;

            (e)       committed acts and omissions that Defendants knew or should
            have known would cause damage (and, in fact, did cause damage) in
            Georgia to Plaintiffs and Georgia consumers while (i) regularly doing or
            soliciting business in such jurisdiction, and/or (ii) engaging in other
            persistent courses of conduct within such jurisdiction, and/or (iii) deriving
            such substantial revenue from goods used or consumed or services
            rendered in such jurisdiction;
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            (f)      engaged in a conspiracy with others doing business in Georgia
            that caused tortious damage in Georgia; and/or

            (g)     otherwise had the requisite minimum contacts with Georgia such
            that, under the circumstances, it is fair and reasonable to require
            Defendants to come to Court to defend this action.

                                        VENUE

                                              11.

       Venue is proper under 28 U.S.C. § 1391(b)(2), because, inter alia, a

substantial part of the events or acts giving rise to the causes of action alleged in this

Complaint arose in, among other places, this District and the state of Georgia, and

the harmful effects of Defendants fraud and wrongful conspiracy were felt in, among

other places, this District. In addition, venue is proper under 18 U.S.C. § 1965

because Plaintiff resides in this District.


                                OPERATIVE FACTS

                                               12.

       During the City of Savannah’s adoption of a City-wide rezoning plan in

September 2019, the City of Savannah zoned 1000 Chatham Center Drive,

Savannah, GA, PIN 20739-01013 (the “Subject Property”) as B-C – Community




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Business (“BC Zone”). The Subject Property’s future land use designation was

commercial suburban.

                                           13.

       In anticipation of acquiring the Subject Property, Vista desired to purchase

the land, rezone the land, and develop a multi-family residential apartment complex

with a density of twenty-five (25) units per acre.

                                           14.

       Since stand-alone apartment complexes were not permitted within the Subject

Property’s current zoning requirements, Vista was required to submit a rezoning

request in anticipation of its purchase of the Subject Property.

                                           15.

       Vista’s ability and interest in purchasing the Subject Property is wholly based

on its ability to have the Subject Property rezoned. Without the rezoning of the

Subject Property, Vista would not have any use for the Subject Property and would

not be interested in purchasing the Subject Property.

                                           16.

       On August 23, 2021, Vista, along with the current owner of the Subject

Property, PHRM Holdings LLC, petitioned the City of Savannah to have the Subject



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Property rezoned from B-C (community Business) to RMF-2-25 (Multifamily

residential – 25 dwellings per acre). See Exhibit [A] (the “Rezoning Petition”).

                                          17.

       Across from the Subject Property is a property commonly known as Walden

at Chatham Center, with an address of 100 Walden Lane, Savannah, GA Pin 20739

01009, which is owned by West Shore Walden.

                                          18.

       Following the submission of Vista’s Rezoning Petition, there were multiple

public meetings whereby Vista provided information and detail regarding its plans

for the Subject Property while availing itself to the public to answer questions and

hear concerns.

                                          19.

       On September 21, 2021, the Chatham County – Savannah Metropolitan

Planning Commission held its regular meeting. As part of its regular meeting, the

Planning Commission considered Vista’s Rezoning Petition. Marcus Lotson,

Director of Development Services of the Planning Commission presented Vista’s

Rezoning Petition to the entire Planning Commission and recommended its approval

as a “staff recommendation.”



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                                           20.

       In anticipation of the staff recommendation, Mr. Lotson prepared a “Staff

Report” which detailed Vista’s Rezoning Petition and provided an overview of the

impact of Vista’s proposal. See Exhibit [B] (the “Staff Report”). The Staff Report

outlined the existing development pattern of the area surrounding the Subject

Property, the impact and suitability of the proposed rezoning, and the future land

use, amongst other important variables for consideration.

                                           21.

       The Staff Report also provided comment on behalf of the Planning

Commission based on review criteria prescribed in the Savannah Zoning

Ordinance Sec. 3.5.8. As required by the Savannah Zoning Ordinance Sec. 3.5.8,

the Planning Commission opined based on the following review criteria:

   a. Suitability and Community Need

          i.   Whether the range of uses permitted by the proposed zoning district is
               more suitable than the range of uses that is permitted by the current
               zoning district.
         ii.   Whether the proposed zoning district addresses a specific need in
               the county or city.

   b. Compatibility

          i.   Whether the zoning proposal will adversely affect the existing use or
               usability of adjacent or nearby property;

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         ii.   Whether the zoning proposal is compatible with the present zoning
               pattern and conforming uses of nearby property and the character of
               the surrounding area.
        iii.   Whether there are other existing or changing conditions affecting the
               use and development of the property which give supporting grounds
               for either approval or disapproval of the zoning proposal.

   c. Consistency

      Whether the zoning proposal is in conformity with the policy and intent of
the Comprehensive Plan and other adopted plans, such as a redevelopment plan or
small area plan.

   d. Reasonable Use

       Whether the property to be affected by the zoning proposal has a reasonable
use as currently zoned.

   e. Adequate Public Services

      Whether adequate school, public safety and emergency facilities, road,
ingress and egress, parks, wastewater treatment, water supply and stormwater
drainage facilities are available for the uses and d0ensities that are permitted in the
proposed zoning district.

                                           22.

       Per the Staff Report, “all property owners within 300 feet of the subject

property were sent notices of the proposed rezoning. Public notice was posted on

site.” Exhibit B. On information and belief, since the Walden Apartments are located

across the street from the Subject Property, West Shore received notice of the Public




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Commission meeting and the Staff Report. A representative of West Shore attended

the Planning Commission meeting.

                                           23.

       Reporting and presenting on behalf of Vista in the Planning Commission

meeting was Harold B. Yellin, a zoning land use attorney based out of Savannah,

Georgia. In Mr. Yellin’s short remarks, he noted that a site plan was submitted to the

Planning Commission for illustrative purposes and noted that the site would include

seven (7) buildings on fifteen (15) acres, with two entrances. Mr. Yellin also noted

that due to the size of the site, there was ample room for setbacks and buffers. Lastly,

Mr. Yellin stated that a more specific site plan would be presented to the Planning

Commission for review upon a rezoning decision. Mr. Yellin concluded that the

Planning Commission should follow the staff’s recommendation that Vista’s

Petition be approved.

                                           24.

       As part of the Planning Commission meeting, audience members were

allowed to ask certain questions, make comments, and offer points that they wished

the Planning Commission to consider before approving the recommendation. The

first person to make an audience comment was David Sacco, who acknowledged

that he was there on behalf of the Walden Apartments and West Shore Walden, LLC.
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Mr. Sacco stated “We’re just here to gain information. We are not objecting at this

time, but we would like a little bit more time to understand exactly what this project

would entail.” At no point did Mr. Sacco object or express concern. Mr. Sacco serves

as the Controller of West Shore and acted on behalf of and in concert with all

Defendants.

                                           25.

       At that time, Mr. Lotson gave an overview of the rezoning and development

process. For instance, Mr. Sacco and Defendants were informed that it would take

over a month before a decision would be reached and if there were any questions,

those could be asked to the Planning Commission or Vista. It was made clear that

any concerns that Mr. Sacco or Defendants may have had, could be taken into

consideration before a final decision was rendered.

                                           26.

       In an effort to ensure full transparency and to make himself available for

questions, Mr. Yellin on behalf of Vista, offered his contact information and

encouraged Mr. Sacco to contact him with any questions or concerns.




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                                          27.

       At the conclusion of the Planning Commission meeting, the vote to approve

Vista’s Rezoning Petition was approved with a twelve to zero vote, with two

commission members absent.

                                          28.

       Following the September 21, 2021 Planning Commission meeting, there was

an October 28, 2021 City Council hearing where no objections to Vista’s Rezoning

Petition were raised.

                                          29.

       Defendants had multiple opportunities to engage with Vista or express their

concerns before the October 28, 2021 hearing. Mr. Yellin, on behalf of Vista,

proactively reached out to counsel for West Shore to review any potential concerns

regarding the rezoning request. No concerns were brought to Vista’s attention and

there was never any mention from any party that Vista’s rezoning petition would

be opposed.

                                          30.

       Instead of engaging with Vista to advance any concerns, on October 28, 2021,

West Shore Walden, through its attorney, J. Patrick Connell, wrote a letter to the

City of Savannah opposing Vista’s Rezoning Petition. West Shore Walden argued
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that the City of Savannah did not have sufficient information to approve the

Rezoning Petition and threatened that approving such petition without that

information would be “a manifest abuse of the zoning power by the City….” See

Exhibit [C].

                                         31.

       After the October 28, 2021 hearing and receipt of West Shore Waldens’

October 28, 2021 letter, Mr. Yellin, on behalf of Vista, made the City Council

aware that he had proactively reached out to counsel for West Shore for concerns,

and counsel for West Shore had no substantive feedback.

                                         32.

       Notwithstanding West Shore Walden’s October 28th letter, on November 9,

2021, the City of Savannah approved Vista’s petition and permitted the rezoning of

the Subject Property from B-C (Community Business) to RMF-2-25 (Residential

Multi-Family, 25 Units per Acre).

                                         33.

       Under Georgia law, a party has 30 days to appeal a zoning decision. O.C.G.A.

§ 5-4-6 (a). On exactly the thirtieth day—December 9, 2021—West Shore filed its

Petition for Writ of Certiorari (the “Petition for Writ”) appealing the City of

Savannah’s November 9, 2021 rezoning decision. See Exhibit [D]. The Petition for
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Writ forced Vista to suspend its purchase of the Subject Property and, consequently,

halt future development plans.

                                         34.

       Because Defendants had access to the Staff Report, the Planning Commission,

and Vista, Defendants knew that certain claims and allegations made in West Shore

Walden’s Petition for Writ were not supported by the material facts necessary to

support its allegations. Indeed, those claims were false and constituted a deceptive

purpose on which to challenge a zoning decision.

                                         35.

       For instance, Paragraph 17 of the Petition Writ claims that the City Council

failed to “follow its own zoning procedures, ignored mandatory zoning requirements

and the Subject Property’s future land use designation, and deprived themselves of

key information relating to Vista’s proposed development of the Subject Property.”

These are bald-faced untruths. Defendants had full and complete access to the

intended development concept and plans for the Subject Property and requested

them on September 17, 2021 through its associated counsel, Stephen Tilbrook of

Akerman LLP. See Exhibit [E].




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                                             36.

       Also, in Paragraphs 21-22 of the Petition for Writ claims that West Shore

Walden “will suffer substantial damage” from the Savannah City Council’s decision

to rezone the Subject Property. West Shore Walden never actually specified the

impact it would allegedly suffer. Rather, on information and belief, the true

motivation for filing the Petition for Writ was simply to do whatever it took (whether

legitimate or not) to delay Vista’s plans in order for West Shore Walden to preserve

its economic advantage. Defendants cannot disavow knowledge of or ignore facts

that they deliberately sought and received.

                                             37.

       On January 19, 2022, attorneys for Vista, wrote a letter to West Shore Walden

requesting that it (1) dismiss the Petition; (2) cease and desist its tortious interference

and other unfair business practices; and (3) provide written confirmation of West

Shore Walden’s compliance with this demand. Vista’s letter requested a response in

writing by January 19, 2022. See Exhibit [F].

                                             38.

       In addition to requesting that West Shore Walden dismiss its petition, Vista

made West Shore Walden aware that its actions against Vista were repetitive of other

frivolous litigation brought by West Shore entities in Florida to undermine
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potentially competitive projects solely for the purpose of economic gain and not

based upon a legitimate zoning concern. See Exhibit [G].

                                         39.

       West Shore Walden never responded to Vista’s January 19, 2022 letter.

                                         40.

       On January 21, 2022, Vista filed a Motion to Dismiss and Request for

Expedited Hearing (“Motion to Dismiss”). In its Motion to Dismiss, Vista argued

that West Shore Walden failed to properly serve its Petition for Writ. See Exhibit

[H].

                                         41.

       On January 31, 2022, Vista filed a Motion to Dismiss for Failure to Meet

Statutory Requirements (“Motion to Dismiss for Failure to Meet Statutory

Requirements”). In its Motion to Dismiss for Failure Meet Statutory Requirements,

Vista argued that West Shore Walden failed to comply with state law requiring it to

post a certiorari bond conditioned to pay any of the adverse parties’ damages and a

certificate from Respondent (the City of Savannah) approving the bond. See Exhibit

[I].




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                                            42.

       West Shore Walden never filed a responsive pleading to the two Motions to

Dismiss. It became clear that West Shore Walden never intended to present the court

or the affected parties with real concerns about the rezoning of the Subject Property.

Rather, West Shore Walden intended to perpetrate a fraud in order to sabotage

Vista’s ability to purchase and develop the Subject Property.

                                            43.

       On February 7, 2022, the Superior Court of Chatham County granted Vista’s

request for an expedited hearing and scheduled a hearing for February 14, 2022, on

Vista’s Motion to Dismiss and Vista’s Motion to Dismiss for Failure to Meet

Statutory Requirements. See Exhibit [J].

                                            44.

       On Saturday, February 12, 2022, West Shore Walden voluntarily dismissed

its Petition pursuant to O.C.G.A. § 9-11-41(a)(1) without prejudice meaning that

West Shore Walden could refile its Petition for Writ in six months. See Exhibit [K].

                                            45.

       This last-minute dismissal was just another delay tactic to hold Vista’s

purchase and development of the Subject property hostage for the next six months

with the specter of a renewed Petition for Writ of Certiorari.
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                                           46.

       All of these acts were done solely for the purpose of economic gain and not

based upon a legitimate zoning concern.

                        West Shore Walden’s Prior Actions

                                           47.

       In February 2020, West Shore Legacy, LLC, an affiliate and/or subsidiary of

West Shore, commenced a Petition for Administrative Hearing in Alachua County,

Florida alleging that the approval of a competitor’s (Fickling and Company, Inc. and

NGI Acquisitions) rezoning petition was not in compliance with existing statute.

(Case No. 20-1562GM). See Exhibit [G].

                                           48.

       In July 2020, Fickling and Company, Inc. and NGI Acquisitions filed a joint

motion for sanctions alleging that West Shore Legacy, LLC’s counsel “knew, or

should have known, that certain claims and allegations made in West Shore’s

Petition for Administrative Hearing (“Petition”) in this case are not supported by the

material facts necessary to establish the claims or allegations….” See Exhibit [G].




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                                           49.

This pattern and practice of filing frivolous actions is part of a broader campaign to

manipulate the housing market to Defendants’ benefit by improperly monopolizing

its interests.

                                           50.

       These are not ordinary steps in an effort to properly protect business interests

or object to zoning decisions. These actions are part of Defendants’ deceptive and

misleading scheme to delay or sabotage competition.

                                     COUNT I
                               Civil RICO Violations
                               (18 U.S.C. § 1962 (c))

                                           51.

       Vista incorporates by reference each paragraph above as if fully set forth

herein.

                                           52.

       This count sets forth a claim for damages resulting from the Defendants’

violations of the Racketeer Influenced and Corrupt Organizations Act, 18 U.S.C. §§

1961 et seq.




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                                           53.

       West Shore, West Shore Walden, and John Does 1-3 are each “persons” who

are capable of holding a legal or beneficial interest in property under 18 U.S.C. §

1961(3).

                                           54.

       An enterprise need not be a specific legal entity but rather may be “any union

or group of individuals associate in fact although not a legal entity.”

                                           55.

       West Shore, West Shore Walden, and John Does 1-3 constitute an enterprise

of individuals who are associated in fact under 18 U.S.C. § 1961(4).

                                           56.

       Section 1962(c) makes it “unlawful for any person employed by or associated

with any enterprise engaged in, or the activities of which affect, interstate or foreign

commerce, to conduct or participate, directly or indirectly, in the conduct of such

enterprise’s affairs through a pattern of racketeering activity . . .” 18 U.S.C. §

1962(c). Each Defendant conducted and participated in the affairs of an enterprise

through a pattern of racketeering activity, in violation of 18 U.S.C. § 1962(c).




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                                           57.

       West Shore, in conspiracy with West Shore Walden and John Does 1-3,

directed and intentionally filed a Petition for Writ which assisted and furthered

Defendants’ scheme to halt and interfere with Vista’s purchase and development of

the Subject Property.

                                           58.

       West Shore at all times had the opportunity to confer with Vista to outline its

concerns for rezoning the Subject Property. West Shore in conspiracy with West

Shore Walden and John Does 1-3, directed and intentionally did not confer with

Vista because Defendants only intent was to halt and interfere with Vista’s purchase

and development of the Subject Property.

                                           59.

       This unlawful and fraudulent conduct resulted in pecuniary gain to each of the

Defendants and operated to the financial detriment of Vista.

                                           60.

       Defendants John Doe 1-3 constituted an “association in fact” enterprise

under 18 U.S.C. § 1961(4), because they were a group of individuals associated in

fact, although not a legal entity. As an “association in fact” enterprise, John Does

1-3 had (a) a purpose – to perpetrate fraud; (b) relationships among those
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associated with the enterprise – each of them exercising a position of authority; and

(c) longevity sufficient to permit John Does 1-3 to pursue the enterprise’s purpose.

                                           61.

       In violation of 18 U.S.C. § 1962(d), John Does 1-3 conspired to violate the

provisions of 18 U.S.C. § 1962(b) and 18 U.S.C. § 1962(c).

                                           62.

       John Does 1-3 have harmed Plaintiff by perpetrating a scheme to defraud

Plaintiffs and others. In particular, John Does 1-3 attended relevant meetings

regarding Vista’s rezoning petition, took communication on behalf of West Shore,

and acted in concert to further the financial detriment of Vista

                                           63.

       Plaintiff has suffered financial injury by reasons of Defendants and John

Does 1-3’s violations of 18 U.S.C. § 1962, and is entitled to judgement against

John Does 1-3 for all resulting damages. Among other injuries, Plaintiff has

suffered injury by, as a proximate result of John Does 1-3’s fraudulent scheme to

freeze it out of the Savannah housing market. Those damages consist of monetary

damages from delay in closing on the Subject Property, monetary damages from

delay in acquiring the purchase loan, monetary damages from delay in

development and construction, monetary damages from the procurement of
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professional consultants, monetary damages from additional costs incurred by the

Subject Property’s seller, and monetary damages from delay in receipt of rental

income (which continues to increase daily). Therefore, pursuant to 18 U.S.C. §

1964(c), Plaintiff is entitled to recover treble damages.

                                              64.

          Pursuant to 18 U.S.C. § 1964(c), Plaintiff is entitled to the reasonable

attorneys’ fees and cost incurred by Plaintiffs to prosecute this lawsuit.


                                       COUNT II
                         Violations of Georgia Civil RICO Act

                                              65.

          Vista incorporates by reference each paragraph above as if fully set forth

herein.

                                              66.

          The scheme and conduct of Defendants evidence the establishment of an

enterprise through a pattern of racketeering activity that is unlawful under the

Georgia Racketeer Influenced and Corrupt Organization Act, O.C.G.A. §§ 16-14-1

et seq.




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                                           67.

       Vista’s RICO claim alleged herein is premised upon Defendants’ commission

of predicate acts which resulted in the taking of Vista’s ability to purchase and

develop the Subject Land without just compensation in violation of their rights under

the Georgia Constitution.

                                           68.

       Defendants willfully conducted and/or participated directly or indirectly in the

conduct of the affairs and engaged in a pattern of racketeering activity and for the

unlawful purpose of defrauding others.

                                           69.

       To date, as a result of the fraud perpetuated by Defendants and their

racketeering activity, Vista has been improperly deprived of approximately

7,995,000 of substantial value appreciation of the purchase and development of the

Subject Property amongst other damages. Those damages include, but are not

limited to:

          i.   monetary damages from delay in closing on the Subject Property;

         ii.   monetary damages from delay in acquiring the purchase loan;

        iii.   monetary damages from delay in development and construction;

        iv.    monetary damages from the procurement of professional consultants;
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         v.    monetary damages from additional costs incurred by the Subject

               Property’s seller; and

        vi.    monetary damages from delay in receipt of rental income (which

               continues to increase daily).

                                               70.

       West Shore Walden, acting at the direction of West Shore, LLC and/or John

Does 1-3, made false statements within the jurisdiction of a department and/or

agency of the state government of the State of Georgia, to wit: The City of Savannah.

                                               71.

       Through their Petition for Writ, J. Patrick Connell, counsel for Defendant

West Shore Walden, LLC, acting at the direction of West Shore, LLC and/or John

Does 1-3, made the subject false statements for the purpose of deceiving the City of

Savannah into delaying Vista’s ability to purchase and develop the Subject Property

while the City of Savannah resolved the complaints made by Defendants in their

Petition for Writ.

                                               72.

       Those false statements occurred during the Planning Commission meeting

when West Shore Walden reported that “we do not object at this time.” Other false

statements were made in West Shore Walden’s October 28, 2021 letter and its
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December 9, 2021 Petition for Writ. These false statements were made for the

purpose of falsefully presenting to the City of Savannah that there was a legitimate

zoning concern.

                                           73.

       Because the City of Savannah relied and acted upon the false statements made

by West Shore Walden in its Petition for Writ, the City of Savannah used its power

and inadvertently forced Vista to halt its purchase of the Subject Property and halt

all development on the Subject Property.

                                           74.

       Prior to making these false statements to the City of Savannah, West Shore

Walden, acting at the direction of West Shore, LLC, conspired with John Does 1-3,

formed an intention to use the false statements to induce the City of Savannah to use

its power to inadvertently force Vista to halt its purchase of the Subject Property and

halt all potential development on the Subject Property.

                                The Predicate Acts

   A. False Statements in a Matter Within the Jurisdiction of a Government
      Agency O.C.G.A. § 16-10-20.
                                      75.

       Defendants have engaged in more than two acts of making false statements in

a matter within the jurisdiction of a government agency, in violation of O.C.G.A. §
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16-10-20. Making such false statements within the jurisdiction of a government

agency constitutes racketeering activity under Georgia law pursuant to O.C.G.A. §

16-14-3(9)(A)(ix) and otherwise.

                                         76.

       In order to obtain a competitive advantage and ultimately stop Vista from

purchasing and developing the Subject Property, West Shore Walden, acting at the

direction of West Shore, LLC and/or John Does 1-3, made the false statements

complained of herein.

                                         77.

       Those false statements occurred during the Planning Commission meeting

when West Shore Walden reported that “we do not object at this time.” Other false

statements were made in West Shore Walden’s October 28, 2021 letter and its

December 9, 2021 Petition for Writ. These false statements were made for the

purpose of falsefully presenting to the City of Savannah that there was a legitimate

zoning concern.

                                         78.

       West Shore Walden, acting at the direction of West Shore, LLC and/or John

Does 1-3, made misrepresentations to the City of Savannah which caused an

intentional suspension of Vista’s purchase and development of the Subject Property.
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                                              79.

       The unlawful conduct resulted in pecuniary and other gain to Defendants and

caused harm to Vista.

   B. Mail Fraud (18 U.S.C. § 1341).

                                        80.

       West Shore Walden, acting at the direction of West Shore, LLC and/or John

Does 1-3, engaged in mail fraud, in violation of 18 U.S.C. § 1341. Mail fraud

constitutes racketeering activity under O.C.G.A. § 16-14-3(9)(A)(xxix), which

incorporates conduct defined by federal RICO, specifically 18 U.S.C. § 1961(1)(A),

as acts of racketeering activity.

                                        81.

       Having devised a scheme to defraud, and for the purpose of wrongfully

obtaining valuable property by means of false or fraudulent pretenses,

representations, or promises, West Shore Walden, acting at the direction of West

Shore, LLC and/or John Does 1-3, deposited or electronically transmitted letters for

the purpose of executing that scheme.

                                        82.

       West Shore Walden, acting at the direction of West Shore, LLC and/or John

Does 1-3, also had a scheme or artifice to defraud Vista by making
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misrepresentations to the City of Savannah with the expectation that it (the City of

Savannah) would rely upon and act thereon, all to the detriment of Vista in

condemnation of Vista's valuable property – the ability to develop the Subject

Property.

                                      83.

       On October 28, 2021, West Shore Walden, through its attorney wrote a letter

to the City of Savannah opposing Vista’s rezoning petition. West Shore Walden

argued in short that the City of Savannah did not have sufficient information to

approve Vista’s petition and approving such petition without that information would

be “a manifest abuse of the zoning power by the City….”

                                      84.

       West Shore Walden submitted the October 28, 2021 letter to the City of

Savannah by depositing said letter or electronically transmitting said letter to the

City of Savannah in furtherance of its scheme to defraud Vista.

                                            85.

       The unlawful conduct resulted in pecuniary and other gain to Defendants and

caused harm to Vista.




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                                           86.

       West Shore Walden, West Shore, and the John Doe Defendants acted willfully

and with an intent to defraud and to wrongfully obtain the Property from Plaintiffs.

   C. Relationship Between The Predicate Acts Of Racketeering Activity

                                           87.

       The acts of racketeering activity committed by Defendants have the same or

similar intents, in that they sought to induce and entice the City of Savannah to use

its power to cause Vista to surrender the ability to purchase and develop the Subject

Property.

                                           88.

       The acts of racketeering activity committed by Defendants have the same or

similar methods of commission in that they involve making false statements within

a government agency and mail fraud committed in furtherance of a scheme to

defraud Vista out of valuable property.

                                           89.

       Vista has been injured by reason of Defendants’ violation of O.C.G.A. § 16-

14-4(a), and are entitled to: 1) equitable relief in the form of an Order directing that

Defendants must stop any further action against the Subject Property; and 2) recover

from the Defendants three times the actual monetary damages sustained.
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                                          90.

       In addition, Defendants’ actions showed willful misconduct, malice, fraud,

wantonness, oppression, and an entire want of care that raises the presumption of

conscious indifference to consequences and specific intent to cause harm, entitling

Vista to receive from Defendants punitive damages sufficient to deter, penalize, or

punish them in light of the circumstances of the case.

                                          91.

       Vista is aggrieved within the meaning of O.C.G.A. § 16-14-6(b) and appraised

for the issuance of appropriate orders and judgments, including, but not limited to,

reasonable restrictions upon the future activities of Defendants.

                                          92.

       Pursuant to O.C.G.A. § 16-14-6(c), Vista is entitled to recover its attorneys’

fees in the trial and appellate courts, and costs of investigation and litigation

reasonably incurred.

                                   COUNT III
                Conspiring and Endeavoring to Violate Georgia RICO

                                          93.

       Vista hereby incorporates by reference each paragraph above as if fully set

forth herein.

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                                           94.

       Defendants conspired to violate O.C.G.A. § 16-14-4(a), specifically, to obtain

or wrongfully retain personal property, including money, through a pattern of

racketeering activity.

                                           95.

       Defendants agreed to participate in and did in fact participate in a conspiracy

and endeavor to violate O.C.G.A. § 16-14-4(a) by defrauding Vista out of valuable

property, including money, directly and indirectly from Vista through a pattern of

racketeering activity, in violation of O.C.G.A. § 16-14-4(a).

                                           96.

       The pattern of racketeering activity contemplated by, and committed pursuant

to, the conspiracy and endeavor included the acts of racketeering activity alleged

above.

                                           97.

       Vista has been injured by reason of Defendants’ violation of O.C.G.A. § 16-

14-4(c), and is entitled to recover three times the actual damages sustained.

                                           98.

       In addition, Defendants’ actions showed willful misconduct, malice, fraud,

wantonness, oppression, and an entire want of care that raises the presumption of
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conscious indifference to consequences and specific intent to cause harm, entitling

Vista to receive punitive damages sufficient to deter, penalize, or punish them in

light of the circumstances of the case.

                                            99.

       Vista is aggrieved within the meaning of O.C.G.A. § 16-14-6(b) and appraised

for the issuance of appropriate orders and judgments, including, but not limited to,

reasonable restrictions upon the future activities of Defendants and such other relief

as may be necessary and appropriate.

                                          100.

       Pursuant to O.C.G.A. § 16-14-6(c), Vista is entitled to recover its attorneys’

fees in the trial and appellate courts, and costs of investigation and litigation

reasonably incurred.

                                COUNT IV
  Tortious Interference with Contractual Relations, Business Relations, and
                        Potential Business Relations

                                          101.

       Vista incorporates by reference each paragraph above as if fully set forth

herein.




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                                        102.

       By tortiously filing its Petition for Writ, West Shore Walden, acting at the

direction of West Shore, LLC and/or John Does 1-3, tortiously interfered with

Vista’s contractual relations, business relations, and potential business relations by

filing its Writ without any objective merit, which has caused one or more third

parties to discontinue or fail to enter into, a business relationship with Vista.

                                        103.

       Defendants’ actions were done purposefully and maliciously with the intent

to interfere with Vista’s business relationship with respect to the Subject Property.

                                        104.

       Defendants’ tortious interference proximately caused Vista to suffer damages.

                                        105.

       Vista is entitled to damages and injunctive relief in light of Defendants’

tortious interference.

                                      COUNT V
                                       Fraud
                                       106.

       Vista hereby incorporates by reference each paragraph above as if fully set

forth herein.



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                                        107.

       On December 9, 2021, West Shore Walden filed a Petition for Writ for the

purpose of overturning the City of Savannah’s rezoning decision of the property.

                                        108.

       Vista relied of the truthfulness of West Shore Walden’s Petition for Writ,

halted all conduct related to the Subject Property, engaged counsel, and took steps

to defend itself in the Superior Court of Chatham County.

                                        109.

       The Superior Court of Chatham County also relied of the truthfulness of West

Shore Walden’s Petition for Writ, and the court took steps to ensure proper

adjudication of the controversy. As such, the Superior Court of Chatham County set

a hearing to review Vista’s motions and hear arguments on February 14, 2022.

                                        110.

       Vista justifiably relied on the intent of West Shore Walden’s Petition for Writ,

continued to halt all development activities related to the Subject Property, conferred

with counsel on numerous occasions, and ultimately prepared for the February 14,

2022 hearing.




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                                      111.

       Notwithstanding receiving the January 19, 2022 cease and desist letter which

outlined the various reasons why West Shore Walden’s Petition for Writ was

baseless, West Shore Walden waited until February 12, 2022 to withdraw their

Petition for Writ without prejudice. West Shore Walden, acting at the direction of

West Shore, LLC and/or John Does 1-3, failed to provide Vista or the Superior Court

of Chatham County with adequate reason.

                                      112.

       West Shore Walden, acting at the direction of West Shore, LLC and/or John

Does 1-3 knew, or should have known, that the facts supporting their Petition for

Writ were false when filing. Defendants intentionally waited until the last possible

second to withdraw their Petition for Writ.

                                      113.

       West Shore Walden, acting at the direction of West Shore, LLC and/or John

Does 1-3, never had any intent to continue with its Petition for Writ, but instead

intended to defraud Vista out of the opportunity to develop the Subject Property.




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                                          114.

       Each representation and act by West Shore Walden, acting at the direction of

West Shore, LLC and/or John Does 1-3, in filing its Petition for Writ, were

knowingly, purposefully, maliciously, wantonly, and intentionally false when made.

                                          115.

       Each representation and act by West Shore Walden, acting at the direction of

West Shore, LLC and/or John Does 1-3, in filing its Petition for Writ, were in

connection with the scheme to defraud Vista of the ability to develop the Subject

Property.

                                          116.

       Defendants each committed fraud against Vista by knowingly, purposefully,

maliciously, wantonly, and intentionally making the false representations and false

acts set forth above within this Count.

                                          117.

       Vista justifiably relied upon Defendants’ false representations and false acts

referenced above within this Count and was damaged thereby.

                                          118.

       Defendants have acted in bad faith, been stubbornly litigious, and have

caused Plaintiff unnecessary trouble and expense. OCGA § 13-6-11.
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                                  COUNT VI
                                Punitive Damages

                                       119.

       Vista hereby incorporates by reference each paragraph above as if fully set

forth herein.

                                       120.

       Because Defendants’ actions constitute willful misconduct, malice,

wantonness, oppression, and exhibit an entire want of care which raises the

presumption of conscious indifference to consequences, there is no cap on the

punitive damages Plaintiffs may recover.

                                       121.

       Pursuant to O.C.G.A. § 51-12-5.1, Defendants are liable to Plaintiffs for

punitive damages to punish, penalize, and deter the behavior detailed herein in an

amount to be proven at trial.

                                    Count VII
                                  Attorney’s Fees

                                       122.

       Vista hereby incorporates by reference each paragraph above as if fully set

forth herein.

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                                           123.

       Vista should be awarded its attorneys' fees and expenses of litigation

from Defendants, jointly and severally, pursuant to OCGA § 13-6-11 because

Defendants have been stubbornly litigious, have acted in bad faith, and have

caused Vista unnecessary trouble and expense.

       WHEREFORE, Vista demands that judgment be entered in their favor and

against Defendants granting Vista the following relief:

       (a) Compensatory damages;

       (b) Attorneys’ fees, costs, and expenses incurred in bringing this Complaint;

           and

       (c) Such other and additional relief as this Court deems just and proper.

       Respectfully submitted this 22nd day of February 2022.

                            DEMAND FOR JURY TRIAL

       Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Vista demands

trial by jury in this action.




                                [signature on following page]
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       Respectfully submitted this, 22nd February, 2022.

                                             KREVOLIN & HORST, LLC

                                             /s/ Jessica Cino
                                             Jessica Cino
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